                   UNITED STATES BANKRUPTCY COURT
                    EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

In re:
                                                     Chapter 7
Joseph G. DuMouchelle and
Melinda J. Adducci                                   Case No. 19-54531-lsg

                                                     Honorable Lisa S. Gretchko
            Debtors.
____________________________________/
Thomas T. Ritter
                 Plaintiff,
v.
Joseph G. DuMouchelle and                            Adversary Pro. No. 20-04381
Melinda J. Adducci
                 Defendants.
_____________________________________/

    ORDER (I) EXTENDING DISCOVERY CUT OFF, EXPERT REPORT
     DEADLINE, AND DISPOSITIVE MOTION DEADLINE, AND (II)
        SCHEDULING ADJOURNED DATES FOR JOINT FINAL
                PRETRIAL CONFERENCE AND TRIAL

         THIS MATTER came before the Court on the stipulation (“Stipulation”; ECF

No. 109) between Thomas Ritter (“Plaintiff”) and Joseph G. DuMouchelle and

Melinda J. Adducci (collectively, “Defendants”) consenting to the terms of this Order.

On July 24, 2023, the Court conducted a status conference regarding the Stipulation

(“Status Conference”). Counsel for Plaintiff and counsel for the Defendants appeared

at the Status Conference. The Court has reviewed the Stipulation, considered the

statements made at the Status Conference, and is advised in the premises. Based upon




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the Stipulation, the Court finds cause to enter this Order.

       NOW THEREFORE, IT IS HEREBY ORDERED that the Parties’

discovery cut off deadline is extended to November 20, 2023.

       IT IS FURTHER ORDERED that the Parties’ expert report deadline is

extended to November 6, 2023.

       IT IS FURTHER ORDERED that the Parties’ dispositive motion deadline is

extended to December 28, 2023.

       IT IS FURTHER ORDERED that the joint final pretrial conference is

adjourned to April 8, 2024 at 10:00 a.m. before the Honorable Lisa S. Gretchko,

211 W. Fort Street, 19th Floor, Courtroom 1975, Detroit, Michigan.

       IT IS FURTHER ORDERED that the trial of this matter is adjourned to

April 17, 2024 and April 18, 2024, at 9:00 a.m. before the Honorable Lisa S.

Gretchko, 211 W. Fort Street, 19th Floor, Courtroom 1975, Detroit, Michigan.

       IT IS FURTHER ORDERED that, except as amended in this Order, the

September 16, 2022 Adversary Proceeding Scheduling Order (ECF No. 47) remains

in full force and effect.



Signed on July 25, 2023




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